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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 GIUSEPPE BETTIOL, derivatively on behalf
 of ENERGY TRANSFER LP,
                                                       Civil Action No. 3:19-cv-02890-X
               Plaintiff,
                                                       STIPULATION [AND PROPOSED
        v.
                                                       ORDER]
 LE GP LLC, KELCY L. WARREN,
 THOMAS E. LONG, JOHN W.
 MCREYNOLDS, MARSHALL S.
 MCCREA, III, MATTHEW S. RAMSEY,
 STEVEN R. ANDERSON, RICHARD D.
 BRANNON, RAY C. DAVIS, MICHAEL K.
 GRIMM, K. RICK TURNER, RAY W.
 WASHBURNE, AND WILLIAM P.
 WILLIAMS,

               Defendants.



                        STIPULATION [AND PROPOSED ORDER]

       WHEREAS, on December 7, 2019, Plaintiff Giuseppe Bettiol (“Bettiol”), derivatively and

on behalf of Energy Transfer LP (“Energy Transfer” or the “Company”) filed a Verified Unitholder

Derivative Complaint (the “Complaint”) against Defendants Kelcy L. Warren, Thomas E. Long,

John W. McReynolds, Marshall S. McCrea, III, Matthew S. Ramsey, Steven R. Anderson, Richard

D. Brannon, Ray C. Davis, Michael K. Grimm, K. Rick Turner, Ray W. Washburne, and William

P. Williams (collectively, the “Individual Defendants”) and Defendant LE GP, LLC (“LE GP” or

the “General Partner,” and together with the Individual Defendants, the “Defendants”) (the

“Action”);




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       WHEREAS, on December 20, 2019, the Parties filed a joint stipulation and proposed order

requesting the Court to issue an order incorporating stipulations agreed to between the parties;

       WHEREAS, on January 8, 2020, the Court entered an order adopting those stipulations;

       WHEREAS, on January 10, 2020, a class action complaint was filed in Allegheny County

Employees’ Retirement System v. Energy Transfer LP, et al. Case No. 2:20-cv-00200-GAM (E.D.

Penn.) (the “Class Action”), alleging claims under Sections 10(b) and 20(a) of the Securities

Exchange Act of 1934 with a similar factual basis to those asserted in the Action;

       WHEREAS, pursuant to the PSLRA, the Court overseeing the Class Action must appoint

as Lead Plaintiff the person or group of persons who are members of the alleged class that the

Court determines to be “most capable of adequately representing the interests of class members,”

15 U.S.C. § 78u- 4(a)(3)(B)(i)-(ii);

       WHEREAS, once the Lead Plaintiff and Lead Counsel are appointed in the Class Action,

an operative complaint will be identified, or an amended or consolidated complaint will be filed,

which will become the operative complaint (“Operative Complaint”); and

       WHEREAS, the Parties in the Action have conferred and agree that in the interests of

judicial economy, conservation of time and resources, and orderly management of this action, all

deadlines in this case should be stayed pending the filing or designation of an Operative Complaint

in the Class Action;

       IT IS HEREBY STIPULATED AND AGREED by the Parties and their undersigned

counsel as follows:

            1. Within 45 days of the filing or designation of an Operative Complaint in the Class

                Action, Bettiol shall file an amended Complaint in this Action or a stipulation

                indicating that he does not intend to file such an amended Complaint.




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          2. All pre-trial deadlines that may apply in the Action (including any obligation of

             Defendants to respond to the Complaint) shall be stayed until Bettiol files an

             amended Complaint in this Action or a stipulation indicating that he does not

             intend to file such an amended Complaint.

          3. Within 45 days of Bettiol’s filing of an amended Complaint in this Action or a

             stipulation indicating that he does not intend to file such an amended Complaint,

             Defendants shall answer, move to dismiss, or otherwise respond to the then-

             operative Complaint in this Action.

          4. In the event Defendants move to dismiss, Bettiol shall file his opposition(s) no later

             than 45 days after the date Defendants filed their motion to dismiss.

          5. In the event Defendants move to dismiss, Defendants shall file their reply (or

             replies) in further support of their motion(s) no later than 30 days after the date

             Bettiol files his opposition brief.

          6. The parties to this Stipulation shall meet and confer regarding the page limits for

             any briefs.



SO ORDERED this ____ day of ________, 20__.


                                                       UNITED STATES DISTRICT JUDGE




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Respectfully submitted,




/s/ Jeffrey S. Johnston                  /s/ R. Dean Gresham
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